Case 8:17-cv-01328-SDM-AEP Document 18 Filed 09/01/17 Page 1 of 1 PageID 72




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION



   JEFFREY TILSON,

         Plaintiff,

   v.                                               CASE NO. 8:17-cv-1328-T-23AEP

   CAPITAL ONE BANK (USA),
   NATIONAL ASSOCIATION,

         Defendant.
   ____________________________________/


                                        ORDER

         In accord with the parties’ stipulation (Doc. 17), the action is DISMISSED

   WITH PREJUDICE.

         ORDERED in Tampa, Florida, on September 1, 2017.
